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 5
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 6   GURI GONZALEZ
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     GURI GONZALEZ,                                   Case No.:
11
                  Plaintiff,                          COMPLAINT FOR INJUNCTIVE
12                                                    RELIEF AND DAMAGES FOR DENIAL
           vs.                                        OF CIVIL RIGHTS OF A DISABLED
13                                                    PERSON IN VIOLATIONS OF
14                                                    1. AMERICANS WITH DISABILITIES
     HONG YOU PROPERTIES LLC; and                     ACT, 42 U.S.C. §12131 et seq.;
15
     DOES 1 to 10,                                    2. CALIFORNIA’S UNRUH CIVIL
16                                                    RIGHTS ACT;
                  Defendants.
17                                                    3. CALIFORNIA’S DISABLED
                                                      PERSONS ACT;
18
                                                      4. CALIFORNIA HEALTH & SAFETY
19                                                    CODE;
20                                                    5. NEGLIGENCE
21
22
23         Plaintiff GURI GONZALEZ (“Plaintiff”) complains of Defendants HONG YOU
24   PROPERTIES LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:
25                                            PARTIES
26         1.     Plaintiff is a California resident with a physical disability. Plaintiff suffers
27   from complete tetraplegia due to lesion at C5-C7 level and is substantially limited in his
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 1   ability to walk. Plaintiff requires the use of a wheelchair at all times when traveling in
 2   public.
 3           2.   Defendants are, or were at the time of the incident, the real property owners,
 4   business operators, lessors and/or lessees of the real property for a public parking
 5   (“Business”) located at or about 1145 W. 7th St., Los Angeles, California.
 6           3.   The true names and capacities, whether individual, corporate, associate or
 7   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 8   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 9   Court to amend this Complaint when the true names and capacities have been
10   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
11   fictitiously named Defendants are responsible in some manner, and therefore, liable to
12   Plaintiff for the acts herein alleged.
13           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
14   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
15   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
16   the things alleged herein was acting with the knowledge and consent of the other
17   Defendants and within the course and scope of such agency or employment relationship.
18           5.   Whenever and wherever reference is made in this Complaint to any act or
19   failure to act by a defendant or Defendants, such allegations and references shall also be
20   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
21   and severally.
22                                 JURISDICTION AND VENUE
23           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
24   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
25   seq.)
26           7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
27   arising from the same nucleus of operating facts, are also brought under California law,
28




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 1   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2   54, 54., 54.3 and 55.
 3         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 5   property which is the subject of this action is located in this district, Los Angeles County,
 6   California, and that all actions complained of herein take place in this district.
 7                                  FACTUAL ALLEGATIONS
 8         10.    In or about June of 2023, Plaintiff went to the Business.
 9         11.    The Business is a public parking business establishment, open to the public,
10   and is a place of public accommodation that affects commerce through its operation.
11   Defendants provide parking spaces for customers.
12         12.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with his ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business.
15         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16   included, but were not limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to provide the parking space identification sign with the
20                       International Symbol of Accessibility.
21                b.     Defendants failed to comply with the federal and state standards for
22                       the parking space designated for persons with disabilities. Defendants
23                       failed to post required signage such as “Van Accessible,” “Minimum
24                       Fine $250” and “Unauthorized Parking.”
25                c.     Defendants failed to maintain the parking space designated for
26                       persons with disabilities to comply with the federal and state
27                       standards. Defendants failed to maintain the mark on the space with
28                       the International Symbol of Accessibility.



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 1                d.     Defendants failed to maintain the parking space designated for
 2                       persons with disabilities to comply with the federal and state
 3                       standards. Defendants failed to maintain the paint on the ground as
 4                       required.
 5         14.    These barriers and conditions denied Plaintiff the full and equal access to the
 6   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 7   patronize the Business; however, Plaintiff is deterred from visiting the Business because
 8   his knowledge of these violations prevents him from returning until the barriers are
 9   removed.
10         15.    Based on the violations, Plaintiff alleges, on information and belief, that
11   there are additional barriers to accessibility at the Business after further site inspection.
12   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
13   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
14         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
15   knew that particular barriers render the Business inaccessible, violate state and federal
16   law, and interfere with access for the physically disabled.
17         17.    At all relevant times, Defendants had and still have control and dominion
18   over the conditions at this location and had and still have the financial resources to
19   remove these barriers without much difficulty or expenses to make the Business
20   accessible to the physically disabled in compliance with ADDAG and Title 24
21   regulations. Defendants have not removed such barriers and have not modified the
22   Business to conform to accessibility regulations.
23                                   FIRST CAUSE OF ACTION
24       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
25         18.    Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
27         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
28   shall be discriminated against on the basis of disability in the full and equal enjoyment of



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 1   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 2   public accommodation by any person who owns, leases, or leases to, or operates a place
 3   of public accommodation. See 42 U.S.C. § 12182(a).
 4         20.    Discrimination, inter alia, includes:
 5                a.   A failure to make reasonable modification in policies, practices, or
 6                     procedures, when such modifications are necessary to afford such
 7                     goods, services, facilities, privileges, advantages, or accommodations
 8                     to individuals with disabilities, unless the entity can demonstrate that
 9                     making such modifications would fundamentally alter the nature of
10                     such goods, services, facilities, privileges, advantages, or
11                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
12                b.    A failure to take such steps as may be necessary to ensure that no
13                      individual with a disability is excluded, denied services, segregated or
14                      otherwise treated differently than other individuals because of the
15                      absence of auxiliary aids and services, unless the entity can
16                      demonstrate that taking such steps would fundamentally alter the
17                      nature of the good, service, facility, privilege, advantage, or
18                      accommodation being offered or would result in an undue burden. 42
19                      U.S.C. § 12182(b)(2)(A)(iii).
20                c.    A failure to remove architectural barriers, and communication barriers
21                      that are structural in nature, in existing facilities, and transportation
22                      barriers in existing vehicles and rail passenger cars used by an
23                      establishment for transporting individuals (not including barriers that
24                      can only be removed through the retrofitting of vehicles or rail
25                      passenger cars by the installation of a hydraulic or other lift), where
26                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
27                d.    A failure to make alterations in such a manner that, to the maximum
28                      extent feasible, the altered portions of the facility are readily



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 1                       accessible to and usable by individuals with disabilities, including
 2                       individuals who use wheelchairs or to ensure that, to the maximum
 3                       extent feasible, the path of travel to the altered area and the
 4                       bathrooms, telephones, and drinking fountains serving the altered
 5                       area, are readily accessible to and usable by individuals with
 6                       disabilities where such alterations to the path or travel or the
 7                       bathrooms, telephones, and drinking fountains serving the altered
 8                       area are not disproportionate to the overall alterations in terms of cost
 9                       and scope. 42 U.S.C. § 12183(a)(2).
10         21.    Where parking spaces are provided, accessible parking spaces shall be
11   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
12   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
13   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
14   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
15   be a van accessible parking space. 2010 ADA Standards § 208.2.4. Signs shall be 60
16   inches (1525 mm) minimum above the finish floor or ground surface measured to the
17   bottom of the sign. 2010 ADA Standards § 502.6.
18         22.    Under the ADA, the method and color of marking are to be addressed by
19   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
20   Building Code (“CBC”), the parking space identification signs shall include the
21   International Symbol of Accessibility. Parking identification signs shall be reflectorized
22   with a minimum area of 70 square inches. Additional language or an additional sign
23   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
24   parking space identification sign shall be permanently posted immediately adjacent and
25   visible from each parking space, shall be located with its centerline a maximum of 12
26   inches from the centerline of the parking space and may be posted on a wall at the
27   interior end of the parking space. See CBC § 11B-502.6, et seq.
28




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 1         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 2   each entrance to an off-street parking facility or immediately adjacent to on-site
 3   accessible parking and visible from each parking space. The additional sign shall not be
 4   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 5   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 6   designated accessible spaces not displaying distinguishing placards or special license
 7   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 8   See CBC § 11B-502.8, et seq.
 9         24.    Here, Defendants failed to provide the parking space identification sign with
10   the International Symbol of Accessibility. In addition, Defendants failed to provide the
11   signs stating “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
12   to provide the additional sign with the specific language stating “Unauthorized vehicles
13   parked in designated accessible spaces not displaying distinguishing placards or special
14   license plates issued for persons with disabilities will be towed always at the owner’s
15   expense…”
16         25.    For the parking spaces, access aisles shall be marked with a blue painted
17   borderline around their perimeter. The area within the blue borderlines shall be marked
18   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
19   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
20   be painted on the surface within each access aisle in white letters a minimum of 12 inches
21   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
22   11B-502.3.3.
23         26.    Here, Defendants failed to provide a proper access aisle as there were faded
24   “NO PARKING” marking and faded blue hatched lines painted on the parking surface.
25         27.    The surface of each accessible car and van space shall have surface
26   identification complying with either of the following options: The outline of a profile
27   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
28   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum



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 1   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 2   length of the parking space and its lower side or corner aligned with the end of the
 3   parking space length or by outlining or painting the parking space in blue and outlining
 4   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 5   occupant. See CBC § 11B-502.6.4, et seq.
 6         28.      Here, Defendants failed to maintain the mark on the surface with the
 7   International Symbol of Accessibility as required.
 8         29.      A public accommodation shall maintain in operable working condition those
 9   features of facilities and equipment that are required to be readily accessible to and usable
10   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
11         30.      By failing to maintain the facility to be readily accessible and usable by
12   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
13   regulations.
14         31.      The Business has denied and continues to deny full and equal access to
15   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
16   discriminated against due to the lack of accessible facilities, and therefore, seeks
17   injunctive relief to alter facilities to make such facilities readily accessible to and usable
18   by individuals with disabilities.
19                                 SECOND CAUSE OF ACTION
20                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
21         32.      Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         33.      California Civil Code § 51 states, “All persons within the jurisdiction of this
24   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
25   national origin, disability, medical condition, genetic information, marital status, sexual
26   orientation, citizenship, primary language, or immigration status are entitled to the full
27   and equal accommodations, advantages, facilities, privileges, or services in all business
28   establishments of every kind whatsoever.”



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 1         34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 2   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 3   for each and every offense for the actual damages, and any amount that may be
 4   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 5   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 6   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 7   person denied the rights provided in Section 51, 51.5, or 51.6.
 8         35.    California Civil Code § 51(f) specifies, “a violation of the right of any
 9   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
10   shall also constitute a violation of this section.”
11         36.    The actions and omissions of Defendants alleged herein constitute a denial
12   of full and equal accommodation, advantages, facilities, privileges, or services by
13   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
14   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
15   51 and 52.
16         37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
17   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
18   damages as specified in California Civil Code §55.56(a)-(c).
19                                  THIRD CAUSE OF ACTION
20                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
21         38.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
24   entitled to full and equal access, as other members of the general public, to
25   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
26   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
27   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
28   of transportation (whether private, public, franchised, licensed, contracted, or otherwise



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 1   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 2   places of public accommodations, amusement, or resort, and other places in which the
 3   general public is invited, subject only to the conditions and limitations established by
 4   law, or state or federal regulation, and applicable alike to all persons.
 5         40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 6   corporation who denies or interferes with admittance to or enjoyment of public facilities
 7   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 8   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 9   the actual damages, and any amount as may be determined by a jury, or a court sitting
10   without a jury, up to a maximum of three times the amount of actual damages but in no
11   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
12   determined by the court in addition thereto, suffered by any person denied the rights
13   provided in Section 54, 54.1, and 54.2.
14         41.    California Civil Code § 54(d) specifies, “a violation of the right of an
15   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
16   constitute a violation of this section, and nothing in this section shall be construed to limit
17   the access of any person in violation of that act.
18         42.    The actions and omissions of Defendants alleged herein constitute a denial
19   of full and equal accommodation, advantages, and facilities by physically disabled
20   persons within the meaning of California Civil Code § 54. Defendants have
21   discriminated against Plaintiff in violation of California Civil Code § 54.
22         43.    The violations of the California Disabled Persons Act caused Plaintiff to
23   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
24   statutory damages as specified in California Civil Code §55.56(a)-(c).
25                                FOURTH CAUSE OF ACTION
26                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
27         44.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



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 1          45.    Plaintiff and other similar physically disabled persons who require the use of
 2   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 3   such facility is in compliance with the provisions of California Health & Safety Code §
 4   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 5   provisions of California Health & Safety Code § 19955 et seq.
 6          46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 7   that public accommodations or facilities constructed in this state with private funds
 8   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 9   Title 1 of the Government Code. The code relating to such public accommodations also
10   require that “when sanitary facilities are made available for the public, clients, or
11   employees in these stations, centers, or buildings, they shall be made available for
12   persons with disabilities.
13          47.    Title II of the ADA holds as a “general rule” that no individual shall be
14   discriminated against on the basis of disability in the full and equal enjoyment of goods
15   (or use), services, facilities, privileges, and accommodations offered by any person who
16   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
17   Further, each and every violation of the ADA also constitutes a separate and distinct
18   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
19   award of damages and injunctive relief pursuant to California law, including but not
20   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
21                                   FIFTH CAUSE OF ACTION
22                                         NEGLIGENCE
23          48.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25          49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
26   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
27   to the Plaintiff.
28




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 1         50.    Defendants breached their duty of care by violating the provisions of ADA,
 2   Unruh Civil Rights Act and California Disabled Persons Act.
 3         51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 4   has suffered damages.
 5                                    PRAYER FOR RELIEF
 6         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 7   Defendants as follows:
 8         1.     For preliminary and permanent injunction directing Defendants to comply
 9   with the Americans with Disability Act and the Unruh Civil Rights Act;
10         2.     Award of all appropriate damages, including but not limited to statutory
11   damages, general damages and treble damages in amounts, according to proof;
12         3.     Award of all reasonable restitution for Defendants’ unfair competition
13   practices;
14         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
15   action;
16         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
17         6.     Such other and further relief as the Court deems just and proper.
18                              DEMAND FOR TRIAL BY JURY
19         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
20   demands a trial by jury on all issues so triable.
21
22   Dated: September 1, 2023                       SO. CAL. EQUAL ACCESS GROUP
23
24
25                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
26                                                  Attorneys for Plaintiff
27
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